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                    IN THE UNITED STATES DISTRICT COURT FOR T
                                                                                    FB -8 2019
                             EASTERN DISTRICT OF VIRGINIA
                                                                               CLERK, U.S. DISTRICT COURT
                                                                                  ALEXANDRIA, VIRGINIA
                                       Alexandria Division



UNITED STATES OF AMERICA


               V.

                                                             Case No. l:19-mj-68
CHADRICK DEWAYNE JAMES,
   a/k/a "CHADRICKS JAMES"
   a/k/a"CHAD JAMES"
   a/k/a "MISSISSIPPI CHADRICK'


               Defendant.




               AFFIDAVIT IN SUPPORT OF A CRIMINAL COMPLAINT


       I, Officer Mirko O.Pena, being duly sworn, state the following:

       1.      I entered on duty with the Security Protective Service ("SPS") of the Central

Intelligence Agency ("CIA") in April 2011. I graduated from the Federal Law Enforcement

Training Center("FLETC")in May 2012. Following my graduation,I received an additional eight

weeks of CIA-specific training prior to being assigned as an officer at various CIA installations.

       2.      This affidavit is submitted in support ofa criminal complaint charging CHADRICK

DEWAYNE JAMES with criminal trespass at the George Bush Center for Intelligence in McLean,

Virginia("CIA Headquarters"),in violation of32 C.F.R. § 1903.7(a), which prohibits entering or

remaining on any CIA installation without proper authorization.

       3.      The facts and information contained in this affidavit are based upon my personal

knowledge and observations during the course of this investigation, information conveyed to me

by other individuals, including law enforcement officers, and my review of records, documents.



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and other physical evidence obtained during the investigation. This affidavit contains information

necessary to support probable cause, and it is not intended to include each and every fact and

matter observed by me or known to the government.

       4.      On Thursday, February 7,2019, at approximately 11:00 a.m., security monitors at

CIA Headquarters in McLean, Virginia, within the Eastern District of Virginia, showed a taxicab

approach the facility and drop off a passenger. The passenger of the taxicab was later identified

as CHADRICK DEWAYNE JAMES, who voluntarily provided his South Dakota Identification

Card to my colleagues. One of my colleagues. Officer Pack, stated that he recognized the

defendant from prior incidents at CIA Headquarters. Upon approach to the main entrance of CIA

Headquarters, the defendant passed a sign which read in relevant part:

                                              WARNING


                                             RESTRICTED


                                         U.S. GOVERNMENT


                                           INSTALLATION


                                    EMPLOYEES AND OFFICIAL


                                           VISITORS ONLY


                                    IT IS UNLAWFUL TO ENTER


                                      OR ATTEMPT TO ENTER


                                  THIS INSTALLATION WITHOUT


                                     PROPER AUTHORIZATION


                                            32 C.F.R. 1903


       5.      Officer Pack approached the defendant to inquire about his business at the CIA.

The defendant stated that he wanted to speak with intelligence officers about removing implants
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from his head, and devices attached to his umbilical cord. The defendant stated that he has

something inside of him that transmits signals.

       6.      On three prior occasions-in January 2015, November 2015, and February 2017-

the defendant trespassed at CIA Headquarters. Records from those incidents note that the

defendant expressed similar concerns about having a communication device in his brain.

       7.      Officers asked the defendant to voluntarily leave the premises, but he refused,

stating that he wanted to be arrested if that was necessary to meet with a federal judge.

       8.      Based on the foregoing, I submit there is probable cause to believe that on or about

February 7, 2019, within the Eastern District of Virginia, CHADRICK DEWAYNE JAMES did

enter or remain on a CIA installation without authorization, in violation of32 C.F.R. § 1903.7(a).




                                                     Officer        O. Pena
                                                     Security Protective Service
                                                     Central Intelligence Agency


Subscribed and swom to before me
This 8th day of February 2019.




                          /s/
                   Ivan D. Davis
         United States Magistrate Judge
